        Case 7:20-cv-00224-WLS Document 180 Filed 01/10/22 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                             VALDOSTA DIVISION

YANIRA YESENIA OLDAKER, et al.,                 :
                                                :
         Petitioners-Plaintiffs,                :
                                                :     CASE NO.: 7:20-CV-00224 (WLS)
v.                                              :
                                                :
TAE D. JOHNSON, et al.,                         :
                                                :
         Respondents-Defendants.                :
                                                :
                                           ORDER
       In compliance with the Court’s prior order granting of an extension of the stay in this
case (Doc. 178), the federal Respondents proceeding in their official capacities (the “Federal
Respondents”) have a filed a new status report stating that investigations into the alleged
misconduct is expected to continue for several additional months and requesting an extension
of the stay of this case until April 7, 2022. (Doc. 179.) They have attached documents and
declarations signed under penalty of perjury in support of their request, including a declaration
affirming that Petitioners are undetained and not under an imminent threat of removal. (E.g.,
Doc. 179-4.)
       Accordingly, any objection to the requested extension of the stay must be filed no later
than Friday, January 14, 2022. Otherwise, the stay of this case will be extended.


       SO ORDERED, this 10th day of January 2022.
                                            /s/ W. Louis Sands
                                            W. LOUIS SANDS, SR. JUDGE
                                            UNITED STATES DISTRICT COURT




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